                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                       CRIMINAL DOCKET NO. 3:06cr51-V

UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )
                                )                       ORDER
                                )
JERMAINE BRYANT (1)             )
RICARDO DURAN (3)               )
_______________________________ )


       THIS MATTER is before the Court upon Defendant’s Motion For Continuance from

Judge Richard L. Voorhees’ July 2006 trial term in the Charlotte Division.

       The Court finds that the Defendants' cases are "joined for trial with a co-defendant

as to whom the time for trial has not run and no motion for severance has been granted,"

18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends

of justice served by taking such action outweigh the best interest of the public and the

Defendants to a speedy trial.

       Furthermore, although previously scheduled for Judge Voorhees’ Charlotte trial term

on 26 July 2006, the above captioned matter will be reassigned to Judge Frank Whitney’s

23 October 2006 trial term in the Charlotte Division. Thus, the time period from 26 July

2006, until the date of Defendant’s trial, during the 23 October 2006 trial term, is

excludable from the speedy trial time period.

       IT IS, THEREFORE, ORDERED that the Defendant's motion to continue is

GRANTED and this case is hereby continued from Judge Voorhees’ 26 July 2006 trial

term in the Charlotte Division to Judge Whitney’s 23 October 2006 trial term in the

Charlotte Division.

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                                    Signed: July 14, 2006




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